300 F.3d 1222
    Lindsay EARLS and Lacey Earls, minors, by their next friends and parents, John David Earls and Lori Earls; Daniel James, a minor, by his friend and mother, Leta Hagar, Plaintiffs-Appellants,v.BOARD OF EDUCATION OF TECUMSEH PUBLIC SCHOOL DISTRICT, Independent School District No. 92 of Pottawatomie County; Tecumseh Public School District, Independent School District No. 92 of Pottawatomie County, Defendants-Appellees.Oklahoma State School Boards Association; National School Boards Association; Washington Legal Foundation; U.S. Senators Judd Gregg and Don Nickles; Governor Frank Keating; Rep. Fred S. Morgan (Oklahoma); Oklahoma Secondary Schools Activities Association; Allied Educational Foundation; Gayla D. Duke; Rhonda Ellard; Debra Fletcher; Bobbette Hamilton; Jimmy and Sheila Jordan; Michael and Kim Rawls; Stewart and Roshel Stabel; Kenneth A. Stanley; Kris Steele; Clyde L. and Gail A. Topping; Mike and Valerie Tucker; Steve and Lynne Young; The American Public Health Association; The National Association of Social Workers; The National Association of Social Workers-Oklahoma Chapter; The Center For Law and Education; The National Center for Youth Law; The Juvenile Law Center; The Loyola Childlaw Center; Advocates for Children of New York; Lawyers for Children; Covenant House New Jersey; Professor Martin Guggenheim &amp; Professor Randy Hertz; American Academy of Pediatrics, Amici Curiae.
    No. 00-6128.
    United States Court of Appeals, Tenth Circuit.
    August 26, 2002.
    
      Opinion on Remand from the United States Supreme Court.
      Graham A. Boyd, American Civil Liberties Union Foundation, New Haven, CT, for Plaintiffs-Appellants.
      Linda Maria Meoli (William P. Bleakley and Stephanie J. Mather with her on the brief), The Center for Education Law, Inc., Oklahoma City, OK, for Defendants Appellees.
      Craig R. Levine, New York, New York, filed an amici curiae brief for The American Public Health Association, The National Association of Social Workers, The National Association of Social Workers — Oklahoma Chapter, The Center for Law and Education, The National Center for Youth Law, The Juvenile Law Center, The Loyola ChildLaw Center, Advocates for Children of New York, Lawyers for Children, Covenant House New Jersey, Professor Martin Guggenheim &amp; Professor Randy Hertz, and American Academy of Pediatrics.
      Tyson L. Williams and Julie L. Vogt, Oklahoma State School Boards Association, Oklahoma City, Oklahoma; Julie K. Underwood and Edwin C. Darden, National School Boards Association, Alexandria, Virginia, filed an amici curiae brief for The Oklahoma State School Boards Association and The National School Boards Association.
      Daniel J. Popeo and R. Shawn Gunnarson, Washington Legal Foundation, Washington, D.C., filed an amici curiae brief for Washington Legal Foundation; U.S. Senators Judd Gregg and Don Nickles; Governor Frank Keating; Rep. Fred S. Morgan (Oklahoma); Oklahoma Secondary Schools Activities Association; Allied Educational Foundation; Gayla D. Duke; Rhonda Ellard; Debra Fletcher; Bobbette Hamilton; Jimmy and Sheila Jordan; Michael and Kim Rawls; Stewart and Roshel Stabel; Kenneth A. Stanley; Kris Steele; Clyde L. and Gail A. Topping; Mike and Valerie Tucker; and Steve and Lynne Young.
      Before BRORBY, ANDERSON, and EBEL, Circuit Judges.
      PER CURIAM.
    
    
      1
      On remand from the United States Supreme Court's opinion in Board of Education of Independent School District No. 92 of Pottawatomie County v. Earls, ___ U.S. ___, 122 S.Ct. 2559, 153 L.Ed.2d 735 (2002), we vacate our prior opinion, order and mandate, and we remand to the district court to grant summary judgment in favor of the Board of Education and the School District.
    
    
      2
      REMANDED.
    
    